
In re Parker, Darryl D.; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. O, No. 99-7171; to the Court of Appeal, Fifth Circuit, No. 08-KH-529.
Denied. La.C.Cr.P. art. 980.8; State ex rel. Glover v. State, 98-2380 (La.9/5/95), 660 So.2d 1189; State v. Parker, 98-0256 (La.5/8/98), 711 So.2d 694; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172.
